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  AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                        UNITED STATES DISTRICT COURT
                                                                      for the

                                                            Southern District of Georgia

                    United States of America                            )
                                   V.                                   )
                                                                        ) Case No: CR 197-00028-002
                        Lariy Albert Bush
                                                                        ) USM No: 09568-02 1
Date of Previous Judgment:          January 16, 1998                    ) John J. Czura
(Use Date of Last Amended Judgment if Applicable)                       ) Defendant's Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of         the defendant LI the Director of the Bureau of Prisons LI the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
         LII DENTED.              GRANTED and the defendant's previously imposed sentence of im1prisonment (aijcted in
                              the bst judgment issued) of262         months is reduced to _______________________
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                        36                          Amended Offense Level:     34
Criminal History Category:                     IV                          Criminal History Category: [V
Previous Guideline Range:               262      to 327 months             Amended Guideline Range: 210 to 262 months

H. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
  The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
  of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
  amended guideline range.
ElOther (explain):




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment date
IT IS SO ORDERED.

Order Date:         I24€I 3' /

Effective Date:                                                            United States District Judge
                     (if different from order date)                                              Printed name and title
